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                        EXHIBIT 2
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                      IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF WEST VIRGINIA

                                         Wheeling Division



 DIANA MEY,
 CRAIG CUNNINGHAM,
 STEWART ABRAMSON,
 JAMES SHELTON,                                        Case No.: 5:17-cv-00179-JPB
 DAVID and ROXY VANCE,
 RUSSELL LOCKE, and THOMAS STARK,
 individually and on behalf of a class of all
 persons and entities similarly situated,
                Plaintiffs,

 v.

 DIRECTV, LLC,

                 Defendant.



                           DECLARATION OF KRISTIN L. HALEY

          I, Kristin L. Haley, declare, pursuant to 28 U.S.C. § 1746 and subject to the penalties of

 perjury, that, to the best of my knowledge, the following is true and correct:

          1.     I am currently a Director in the Compliance Department for AT&T, a position I

 have held since 2016.

          2.     Prior to that time, I served as a Director in the Legal Department at DIRECTV,

 LLC, a position I held since July 2009. In that position I was responsible for overseeing

 independent retailers’ compliance with the contracts governing their relationship with

 DIRECTV. I continue to be responsible for overseeing independent retailers’ compliance with

 the contracts governing their relationship with DIRECTV in my current position.




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          3.    I began working at DIRECTV in June 1995 as a Senior Manager in DIRECTV’s

 Legal Department. In approximately 2003, I was promoted to the position of Director at

 DIRECTV. In that position I was initially responsible for handling cases related to alleged

 retailer fraud and signal piracy and later moved to my position overseeing independent retailer

 compliance.

          4.    The facts stated herein are based on my personal knowledge and review of

 corporate records that are regularly maintained in DIRECTV’s ordinary course of business,

 which I have access to as a regular part of my job responsibilities.

          5.    Each independent retailer that contracted to sell DIRECTV services was required

 to enter into an agreement with DIRECTV and to provide their principal contact information as a

 condition of that agreement.

          6.    Attached hereto as Exhibit A is a copy of the title page of the agreement between

 Birju LLC and DIRECTV, including Birju LLC’s contact information. Birju LLC’s contact

 information lists an address in Fairfield, California.

          7.    Attached hereto as Exhibit B is a copy of the title page of the agreement between

 CDS V1 LLC and DIRECTV, including CDS V1 LLC’s contact information. CDS V1 LLC’s

 contact information lists an address in Mesa, Arizona.

          8.    Attached hereto as Exhibit C is a copy of the title page of the agreement between

 Exact Estimating LLC and DIRECTV, including Exact Estimating LLC’s contact information.

 Exact Estimating LLC’s contact information lists an address in Richmond Hill, New York.

          9.    Attached hereto as Exhibit D is a copy of the title page of the agreement between

 Explosive Sales Marketing Group and DIRECTV, including Explosive Sales Marketing Group’s




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 contact information. Explosive Sales Marketing Group’s contact information lists an address in

 Downers Grove, Illinois.

          10.   Attached hereto as Exhibit E is a copy of the title page of the agreement between

 In Home Communications d/b/a Clear Home and DIRECTV, including Clear Home’s contact

 information. Clear Home’s contact information lists an address in Orem, Utah.

          11.   Attached hereto as Exhibit F is a copy of the title page of the agreement between

 Kreatamotive LLC and DIRECTV, including Kreatamotive LLC’s contact information.

 Kreatamotive LLC’s contact information lists an address in Dallas, Texas.

          12.   Attached hereto as Exhibit G is a copy of the title page of the agreement between

 PerfectVision Manufacturing Inc. and DIRECTV, including PerfectVision Manufacturing Inc.’s

 contact information. PerfectVision Manufacturing Inc’s contact information lists an address in

 Little Rock, Arkansas.

          13.   Attached hereto as Exhibit H is a copy of the title page of the agreement between

 the Mylan Johnson Group and DIRECTV, including the Mylan Johnson Group’s contact

 information. The Mylan Johnson Group’s contact information lists an address in Dallas, Texas.

          14.   Attached hereto as Exhibit I is a copy of the title page of the agreement between

 Pic Six LLC and DIRECTV, including Pic Six LLC’s contact information. Pic Six LLC’s contact

 information lists an address in Cary, Illinois.

          15.   Attached hereto as Exhibit J is a copy of the title page of the agreement between

 Pro Edge Marketing Services and DIRECTV, including Pro Edge Marketing Services’ contact

 information. Pro Edge Marketing Services’ contact information lists an address in Madisonville,

 Louisiana.




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          16.   Attached hereto as Exhibit K is a copy of the title page of the agreement between

 Super Sale Outlets LLC and DIRECTV, including Super Sale Outlets LLC’s contact

 information. Super Sale Outlets LLC’s contact information lists an address in Bethpage, New

 York.

          17.   Attached hereto as Exhibit L is a copy of the title page of the agreement between

 XCite Satellite LLC and DIRECTV, including XCite Satellite LLC’s contact information. XCite

 Satellite LLC’s contact information lists an address in Orem, Utah.




                                                 4
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                               EXHIBIT A
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 8 of 30 PageID #:
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                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name: BIRJU LLC                                             AT&T Services, Inc. (on behalf of itself and the AT&T
                 BIRJU
 Business Name (if      LLC
                   different):                                     Affiliates which provide the Services) (“Company” or
 Type of Entity: LLC                                               “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
                                                                   AT&T
 2576 SHOREY WAY                                                   2180 Lake Park Blvd NE
 FAIRFIELD CA 94533                                                Atlanta, GA 30319

                                                                   Attn:    Rich Guidotti, Vice President
                                                                   E-mail: «AT&TNoticeEmail»
 Dealer Contact                                                    Company Contact
 Name: Birju                                                       Area Sales Manager
        Owner
 Title: «DlrPrincipalTitle»
 Telephone: 707-999-8683
             «DlrPhone»
          BIRJUSEJU@LIVE.COM
 E-mail: «DlrEmail»
 Federal Tax ID#: XX-XXXXXXX
 Dealer Billing Address
 2576 SHOREY WAY
 FAIRFIELD CA 94533
 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

 This Agreement is effective as of May 1, 2017, and continues in effect for an initial term of 1 year and thereafter
 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
 BIRJU LLC
 «Dealer Name»                                                  AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Birju                                                      By:
 (Authorized Signature)                                         (Authorized Signature)

 Name: Birju
        «DealerPrincipal»                                       Name: Rich Guidotti
 Title: Owner
        «DlrPrincipalTitle»                                     Title: Vice President
 Date:    02/21/2018                                            Date:  02/21/2018




                                                   AT&T Proprietary & Confidential
                        Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                    1
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                               EXHIBIT B
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 10 of 30 PageID #:
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                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name: CDS V1 LLC                                            AT&T Services, Inc. (on behalf of itself and the AT&T
                 CDS
 Business Name (if    V1 LLC
                   different):                                     Affiliates which provide the Services) (“Company” or
 Type of Entity: SOLE PROPRIETORSHIP                               “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
                                                                   AT&T
  2266 S DOBSON RD 200                                             2180 Lake Park Blvd NE
  MESA AZ 85202                                                    Atlanta, GA 30319

                                                                   Attn:    Rich Guidotti, Vice President
                                                                   E-mail: «AT&TNoticeEmail»
 Dealer Contact                                                    Company Contact
 Name: Michelle Allen                                              Area Sales Manager
        Other
 Title: «DlrPrincipalTitle»
 Telephone: 972-408-6757
              «DlrPhone»
          JLOUDER@MERCURYHOLDINGS.CO
 E-mail: «DlrEmail»
 Federal Tax ID#: XX-XXXXXXX
 Dealer Billing Address
 2266 S DOBSON RD 200
 MESA AZ 85202
 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

 This Agreement is effective as of May 1, 2017, and continues in effect for an initial term of 1 year and thereafter
 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
 CDS V1 LLC
 «Dealer Name»                                                  AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Michelle Allen                                             By:
 (Authorized Signature)                                         (Authorized Signature)

 Name: Michelle Allen
        «DealerPrincipal»                                       Name: Rich Guidotti
 Title: Other
        «DlrPrincipalTitle»                                     Title: Vice President
 Date:    10/18/2017                                            Date:  10/18/2017




                                                   AT&T Proprietary & Confidential
                        Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                    1
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                               EXHIBIT C
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 12 of 30 PageID #:
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                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name: EXACT ESTIMATING LLC                                  AT&T Services, Inc. (on behalf of itself and the AT&T
                 EXACT
 Business Name (if       ESTIMATING LLC
                   different):                                     Affiliates which provide the Services) (“Company” or
 Type of Entity: LLC                                               “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
                                                                   AT&T
  8716 118TH STREET                                                2180 Lake Park Blvd NE
  RICHMOND HILL NY 11418                                           Atlanta, GA 30319

                                                                   Attn:    Rich Guidotti, Vice President
                                                                   E-mail: «AT&TNoticeEmail»
 Dealer Contact                                                    Company Contact
 Name: Jaswant Kaur                                                Area Sales Manager
        Owner
 Title: «DlrPrincipalTitle»
 Telephone: 347-467-6588
             «DlrPhone»
          ZAIDHASAN047@YAHOO.COM
 E-mail: «DlrEmail»
 Federal Tax ID#: XX-XXXXXXX
 Dealer Billing Address
 8716 118TH STREET
 RICHMOND HILL NY 11418
 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

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 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
 EXACT ESTIMATING
 «Dealer Name»    LLC                                           AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Jaswant Kaur                                               By:
 (Authorized Signature)                                         (Authorized Signature)

 Name: Jaswant Kaur
        «DealerPrincipal»                                       Name: Rich Guidotti
 Title: Owner
        «DlrPrincipalTitle»                                     Title: Vice President
 Date:    10/09/2017                                            Date:  10/09/2017




                                                   AT&T Proprietary & Confidential
                        Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                    1
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                               EXHIBIT D
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 14 of 30 PageID #:
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                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name: EXPLOSIVE SALES MARKETING GROUP          AT&T Services, Inc. (on behalf of itself and the AT&T
 Business NameINC(if
                  EXPLOSIVE
                     different): SALES MARKETING GROU Affiliates which provide the Services) (“Company” or
 Type of Entity: CORPORATION                          “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
                                                                   AT&T
  1209 HAWKINS AVE                                                 2180 Lake Park Blvd NE
  DOWNERS GROVE IL 60516                                           Atlanta, GA 30319

                                                                   Attn:    Rich Guidotti, Vice President
                                                                   E-mail: «AT&TNoticeEmail»
 Dealer Contact                                                    Company Contact
 Name: Saul Ruiz                                                   Area Sales Manager
        Owner
 Title: «DlrPrincipalTitle»
 Telephone: 630-835-9726
             «DlrPhone»
          AGENTSAULRUIZ@GMAIL.COM
 E-mail: «DlrEmail»
 Federal Tax ID#: XX-XXXXXXX
 Dealer Billing Address
 1209 HAWKINS AVE
 DOWNERS GROVE IL 60516
 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

 This Agreement is effective as of May 1, 2017, and continues in effect for an initial term of 1 year and thereafter
 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
 EXPLOSIVE
 «Dealer   SALES MARKETING GROUP INC
         Name»                                                  AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Saul Ruiz                                                  By:
 (Authorized Signature)                                         (Authorized Signature)

 Name: Saul Ruiz
        «DealerPrincipal»                                       Name: Rich Guidotti
 Title: Owner
        «DlrPrincipalTitle»                                     Title: Vice President
 Date:    02/16/2018                                            Date:  02/16/2018




                                                   AT&T Proprietary & Confidential
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 EXECUTION                                                                                                    1
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                                EXHIBIT E
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 16 of 30 PageID #:
                                    2084
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                                EXHIBIT F
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 18 of 30 PageID #:
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                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name: KREATAMOTIVE, LLC                                     AT&T Services, Inc. (on behalf of itself and the AT&T
 Business Name (if different): KREATAMOTIVE, LLC                   Affiliates which provide the Services) (“Company” or
 Type of Entity:                 (“Dealer”)                        “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
 1619 DAY STAR DR                                                  AT&T
 DALLAS, TX 75224                                                  2180 Lake Park Blvd NE
 jermainejimoh@gmail.com                                           Atlanta, GA 30319

                                                                   Attn:     Rich Guidotti, Vice President
 Dealer Contact                                                    Company Contact
 Name: Jermaine Jimoh                                              Area Sales Manager
 Title: Authorized Signer
 Telephone: 19045665124
 E-mail: jermainejimoh@gmail.com
 Dealer Billing Address
 1619 DAY STAR DR
 DALLAS, TX 75224

 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

 This Agreement is effective as of May 1, 2017, and continues in effect for an initial term of 1 year and thereafter
 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
  KREATAMOTIVE, LLC                                             AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Jermaine Jimoh
 (Authorized Signature)                                         By:
                                                                (Authorized Signature)
 Name: Jermaine Jimoh
 Title: Authorized Signer                                       Name: Rich Guidotti
                                                                Title: Vice President
 Date:    04/05/2017
                                                                Date: February 24, 2017




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 EXECUTION                                                                                                    1
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                               EXHIBIT G
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 20 of 30 PageID #:
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                                           Mike Courtney
                                           7/18/18
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 21 of 30 PageID #:
                                    2089




                               EXHIBIT H
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 22 of 30 PageID #:
                                    2090



                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name: MYLAN JOHNSON                          AT&T Services, Inc. (on behalf of itself and the AT&T
 Business Name (if different): THE MYLAN JOHNSON GROUP
                                                    Affiliates which provide the Services) (“Company” or
 Type of Entity:                 (“Dealer”)         “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
 135 BECKLEYWOOD                                                   AT&T
 DALLAS, TX 75224                                                  2180 Lake Park Blvd NE
 MYLANJOHNSON@GMAIL.COM                                            Atlanta, GA 30319

                                                                   Attn:     Rich Guidotti, Vice President
 Dealer Contact                                                    Company Contact
 Name: Mylan Johnson                                               Area Sales Manager
 Title: Authorized Signer
 Telephone: 12142067445
 E-mail: MYLANJOHNSON@GMAIL.COM
 Dealer Billing Address
 135 BECKLEYWOOD
 DALLAS, TX 75224

 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

 This Agreement is effective as of May 1, 2017, and continues in effect for an initial term of 1 year and thereafter
 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
  MYLAN JOHNSON                                                 AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Mylan Johnson
 (Authorized Signature)                                         By:
                                                                (Authorized Signature)
 Name: Mylan Johnson
 Title: Authorized Signer                                       Name: Rich Guidotti
                                                                Title: Vice President
 Date:    03/28/2017
                                                                Date: February 24, 2017




                                                   AT&T Proprietary & Confidential
                        Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                    1
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                                EXHIBIT I
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 24 of 30 PageID #:
                                    2092



                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name: PIC SIX LLC                                           AT&T Services, Inc. (on behalf of itself and the AT&T
 Business Name (if different): PIC SIX LLC                         Affiliates which provide the Services) (“Company” or
 Type of Entity:                  (“Dealer”)                       “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
 410 CANDLEWOOD TRAIL                                              AT&T
 CARY, IL 60013                                                    2180 Lake Park Blvd NE
 PGN40@MSN.COM                                                     Atlanta, GA 30319

                                                                   Attn:     Rich Guidotti, Vice President
 Dealer Contact                                                    Company Contact
 Name: Patrick Gianforte                                           Area Sales Manager
 Title: Authorized Signer
 Telephone: 18473227510
 E-mail: PGN40@MSN.COM
 Dealer Billing Address
 410 CANDLEWOOD TRAIL
 CARY, IL 60013

 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

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 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
  PIC SIX LLC                                                   AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Patrick Gianforte
 (Authorized Signature)                                         By:
                                                                (Authorized Signature)
 Name: Patrick Gianforte
 Title: Authorized Signer                                       Name: Rich Guidotti
                                                                Title: Vice President
 Date:    02/24/2017
                                                                Date: February 24, 2017




                                                   AT&T Proprietary & Confidential
                        Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                    1
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                                EXHIBIT J
Case 5:17-cv-00179-JPB-JPM Document 183-2 Filed 10/23/20 Page 26 of 30 PageID #:
                                    2094



                              AT&T PREFERRED DEALER AGREEMENT
 Dealer                                        AT&T
 Legal Name: PRO EDGE MARKETING SERVICES, LLC. AT&T Services, Inc. (on behalf of itself and the AT&T
 Business Name (if different): NORTHSHORE SATELLITES Affiliates which provide the Services) (“Company” or
 Type of Entity:                 (“Dealer”)          “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
 152 BELINGTON AVE.                                                  AT&T
 MADISONVILLE, LA 70447                                              2180 Lake Park Blvd NE
 extremesatellites@att.net                                           Atlanta, GA 30319

                                                                     Attn:     Rich Guidotti, Vice President
 Dealer Contact                                                      Company Contact
 Name: Henry Hebert                                                  Area Sales Manager
 Title: Authorized Signer
 Telephone: 19858457128
 E-mail: extremesatellites@att.net
 Dealer Billing Address
 152 BELINGTON AVE.
 MADISONVILLE, LA 70447

 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
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 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
  PRO EDGE MARKETING SERVICES, LLC.                               AT&T Services, Inc., on behalf of itself and the
                                                                  AT&T Affiliates which provide the Services


 By: Henry Hebert
 (Authorized Signature)                                           By:
                                                                  (Authorized Signature)
 Name: Henry Hebert
 Title: Authorized Signer                                         Name: Rich Guidotti
                                                                  Title: Vice President
 Date:    02/27/2017
                                                                  Date: February 24, 2017




                                                     AT&T Proprietary & Confidential
                          Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                      1
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                                    2095




                               EXHIBIT K
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                                    2096



                            AT&T PREFERRED DEALER AGREEMENT
 Dealer                                      AT&T
 Legal Name:SUPER SALE OUTLETS LLC                                 AT&T Services, Inc. (on behalf of itself and the AT&T
                 SUPER
 Business Name (if      SALE OUTLETS LLC
                   different):                                     Affiliates which provide the Services) (“Company” or
 Type of Entity: SOLE PROPRIETORSHIP                               “AT&T”)
 Dealer Email and Address (For Official Company Address (For Official Notices)
 Notices)
 «DealerAddress»                                                   AT&T
 132 S 7TH ST                                                      2180 Lake Park Blvd NE
 «DlrCityStateZIP»
 BETHPAGE NY 11714
 «DlrEmail»                                                        Atlanta, GA 30319

                                                                   Attn:    Rich Guidotti, Vice President
                                                                   E-mail: «AT&TNoticeEmail»
 Dealer Contact                                                    Company Contact
 Name: Ashley  Singh
         «DealerPrincipal»                                         Area Sales Manager
        Owner
 Title: «DlrPrincipalTitle»
 Telephone: 516-474-3928
             «DlrPhone»
          ASHLEYJSINGH@GMAIL.COM
 E-mail: «DlrEmail»
 Federal Tax ID#: XX-XXXXXXX
 Dealer Billing Address
 132 S 7TH ST
 «DlrBillingAddress»
 BETHPAGE   NY 11714
 «DlrBillingCityStateZIP»
 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics
 Dealer Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued
 in accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i)
 any schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

 This Agreement is effective as of May 1, 2017, and continues in effect for an initial term of 1 year and thereafter
 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
 DEALER’S ELECTRONIC OR HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES
 THAT DEALER HAS READ AND UNDERSTANDS EACH OF THE PROVISIONS OF THIS
 AGREEMENT AND AGREES TO BE BOUND BY THEM.
 SUPER SALE
 «Dealer    OUTLETS LLC
         Name»                                                  AT&T Services, Inc., on behalf of itself and the
                                                                AT&T Affiliates which provide the Services


 By: Ashley Singh                                               By:
 (Authorized Signature)                                         (Authorized Signature)

 Name: Ashley Singh
        «DealerPrincipal»                                       Name: Rich Guidotti
 Title: Owner
        «DlrPrincipalTitle»                                     Title: Vice President
 Date:    05/07/2018                                            Date:  05/07/2018




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                        Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                    1
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                                EXHIBIT L
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                                    2098



                        AT&T DEALER DOOR TO DOOR AGREEMENT (D)
  Dealer                                     AT&T
  Legal Dealer Name: Xcite Satellite, L.L.C.                         AT&T Services, Inc. (on behalf of itself and the AT&T
                                                                     Affiliates which provide the Services) (“Company” or
  Business Name/DBA Name (if different):                             “AT&T”)

  Type of Entity: Limited Liability Corp.
  (“Dealer”)
  Dealer Email and Address (For Official Company Address (For Official Notices)
  Notices)
  Dealer Address (include street address, city, state and            AT&T
  zipcode)                                                           2260 E. Imperial Hwy
    Xcite Satellite                                                  7th Floor
    462. E. 800 N.                                                   El Segundo, CA 90245
    Orem, UT. 84097                                                  Attn:     Mike Courtney, AVP, Consumer Door to
  Dealer e-mail address: jtaylor@xciteonline.com                     Door Sales
  Dealer Contact                                                     Company Contact
  Dealer Principal Name: Jay W. Taylor                               Area Sales Manager
  Dealer Principal Title: C.E.O.
  Telephone: 877-200-4525
  E-mail: jtaylor@xciteonline.com
  Dealer Billing Address
  (Include street address, city, state and zipcode)
    Xcite Satellite
    462 E. 800 N.
    Orem, UT. 84097
 This Agreement consists of this cover page, the attached Terms and Conditions, Schedule 1 (Marketing Tactics Dealer
 Policy Statement), Schedule 2 (Services), all Dealer Policies, and all AT&T supplements and addenda issued in
 accordance with the Terms and Conditions (collectively, the “Agreement”). In the event of a conflict between (i) any
 schedule, supplement, addendum or other attachment, and (ii) the main Terms and Conditions, the terms in such
 schedule, supplement, addendum or attachment will control.

 This Agreement is effective as of May 1, 2017, and continues in effect for an initial term of 1 year and thereafter
 renews on a month to month basis (the “Term”), unless earlier terminated in accordance with the provisions of this
 Agreement. This Agreement is not effective unless and until signed by authorized representatives of both parties.
  DEALER’S ELECTRONIC (INCLUDING VIA A SCANNED DOCUMENT OR FACSIMILE) OR
  HANDWRITTEN SIGNATURE BELOW ACKNOWLEDGES THAT DEALER HAS READ AND
  UNDERSTANDS EACH OF THE PROVISIONS OF THIS AGREEMENT AND AGREES TO BE
  BOUND BY THEM.
                Xcite Satellite, LLC.
  Dealer Name :__________________________                          AT&T Services, Inc., on behalf of itself and the
                                                                   AT&T Affiliates which provide the Services


  By:                                                              By:
                    (Authorized Signature)                                              (Authorized Signature)

                          Jay W. Taylor
  Dealer Principal Name: ____________________                      Name: Mike Courtney
                           C.E.O.
  Dealer Principal Title: ____________________                     Title: AVP, Consumer Door to Door Sales
         3/30/17
  Date: ___________________________________                        Date:     4/24/17



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                         Not for use or disclosure outside the AT&T companies except under written agreement
 EXECUTION                                                                                                       1
